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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

BAD RIVER BAND OF THE LAKE
SUPERIOR TRIBE OF CHIPPEWA
INDIANS OF THE BAD RIVER
RESERVATION,                                               Case No. 19-cv-602-wmc

         Plaintiff and Counter-Defendant,

    V.

ENBRIDGE ENERGY COMPANY, INC.,
and ENBRIDGE ENERGY, L.P.,

         Defendants and Counter-Claimants,

    V.

NAOMI TILLISON,

         Counter-Defendant.


                         FINAL JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff

Bad River Band of the Lake Superior Tribe of Chippewa Indians of the Bad River

Reservation ("the Band") on: its trespass, unjust enrichment, and federal public nuisance

claims; defendants' counterclaims for breach of contract and breach of a duty of good faith

and fair dealing; and defendants' counterclaims for declaratory and injunctive relief against

the Band and counter-defendant Naomi Tillison.

         IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered in favor

of defendants Enbridge Energy Company, Inc., and Enbridge Energy, L.P., and against the
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Judgment in a Civil Case                                                                   Page 2



Band on the Band's Wisconsin public nuisance claim, its regulatory authority claim, and

its ejectment claim.

         IT IS FURTHER ORDERED AND ADJUDGED that judgment is entered

permanently enjoining defendants Enbridge Energy Company, Inc., and Enbridge Energy,

L.P. as follows:

              1. Defendants shall adopt and implement their December 2022 monitoring and
                 shutdown plan in full, incorporating the court's modifications set forth in its
                 June 16, 2023 order, on or before Wednesday, July 5, 2023.

              2. Defendants shall disgorge $5,151,668 to the Band for defendants' past
                 trespass on the Band's 12, former allotment parcels in which the Band has
                 full or fractional ownership.

              3. Defendants shall continue disgorging profits to the Band on a quarterly basis
                 according to the formula set forth in the court's June 16, 2023 order so long
                 as Line 5 operates in trespass of the 12, former allotment parcels.

              4. Defendants shall cease operation of Line 5 on any parcel within the Band's
                 tribal territory on which defendants lack a valid right of way on or before
                 June 16, 2023, and thereafter arrange prompt, reasonable remediation at
                 those sites.


          Approved as to form this       .6ay of June, 2023.




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                                                            Date
    erk of Court
